 Case 2:05-cr-80469-PJD-SDP
                     UNITED ECF No. 26,
                            STATES      PageID.55
                                     DISTRICT     Filed 07/18/08 Page 1 of 1
                                                COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                    Plaintiff,
      v.                                      CR. NO. 05-80469
                                              HONORABLE PATRICK J. DUGGAN

D-2 ROSA BARAJAS-VALENCIA

                    Defendants.
                                                /

                        ORDER FOR TRAVEL EXPENSES

      Defendant , ROSA BARAJAS-VALENCIA, resides in Yuba City, California.

She is scheduled to appear for a status conference in the Eastern District of

Michigan, Southern Division, on July 23, 2008 at 2:00p.m. Pursuant to 18 U.S.C. §

4285, she has requested round trip non-custodial transportation/air fare and

subsistence expenses for that purpose. This Court has found that defendant is

indigent and appointed the Federal Defender Office to represent her.

      IT IS THEREFORE ORDERED that the United States Marshal provide

Defendant with noncustodial round trip air fare and subsistence from Yuba City

California to Detroit, Michigan, for the purpose of appearing for the status conference

at 2:00 p.m., on July 23, 2008.

             SO ORDERED.

                                       s/PATRICK J. DUGGAN
                                  UNITED STATES DISTRICT JUDGE



Dated:July 18, 2008
